 Case 2:00-cr-00218-MCE Document 124 Filed 03/27/08 Page 1 of 1




                       UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF CALIFORNIA



                         ORDER OF REASSIGNMENT



       Pursuant to the Retirement of Judge David F. Levi, and good cause

appearing therefore:

       IT IS HEREBY ORDERED this action is reassigned from Judge David F. Levi to

Judge Morrison C. England, Jr. for all purposes.

       The new case number for this action, which must be used on all future documents

filed with the court, is: 2:00-cr-0218 MCE.

       All dates currently set in this reassigned actions shall remain pending subject to

further order of the court.



Dated: March 27, 2008
